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                             EXHIBIT “B”




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Exhibit B
Final Fee Application
Phoenix Management Services, Inc.
110 Chadds Ford Commons
Chadds Ford, PA 19317

Detail of Time Charges for Shapes/Arch Holdings, LLC DIP
For the Period:                                         8/04/08 thru 8/08/08



  Entry                                                                                            Hourly     Professional
 Number Employee        Date                         Description                      Hours         Rate          Fees

        1    MEJ        8/5/2008 Review various versions of CIT payoff letter           0.30   $     405.00   $    121.50
        2    MEJ        8/6/2008 Discussion with PS re: Wells Fargo and case status     0.40   $     405.00   $    162.00
                                 Review and update PMSI and equipment leases for
        3    MEJ        8/6/2008 loan closing                                           1.00   $     405.00   $     405.00
        4    MEJ        8/6/2008 Discussion with SG re: PMSI                            0.10   $     405.00   $      40.50
        5    MEJ        8/6/2008 Update Permitted liens for HIG                         0.20   $     405.00   $      81.00
        6    MEJ        8/7/2008 Conf call with Cozen and Company re: closing items     0.60   $     405.00   $     243.00
        7    MEJ        8/7/2008 Review payoff letters                                  0.10   $     405.00   $      40.50
        8    MEJ        8/7/2008 Various emails re: closing                             0.10   $     405.00   $      40.50
        9    MEJ        8/7/2008 emails re admin and priority payments                  0.40   $     405.00   $     162.00
       10    MEJ        8/8/2008 emails re: closing                                     0.30   $     405.00   $     121.50
       11    MEJ        8/8/2008 Discussion with HK                                     0.20   $     405.00   $      81.00
       12    MEJ        8/8/2008 More closing items                                     0.30   $     405.00   $     121.50
       13    MEJ        8/8/2008 Fee Application Preparation                            4.00   $     405.00   $   1,620.00


             Total                                                                      8.00                  $   3,240.00




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